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                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                       STATESBORO DIVISION


WILLIE WILLIAMS,

      Movant,

v.                                      Case No. CV616-063
                                                  CR614-001
UNITED STATES OF AMERICA,

      Respondent.

                REPORT AND RECOMMENDATION

      Evidently heeding the Court’s perjury warning, Williams v. United

States , 2016 WL 3194368 at * 2 (S.D. Ga. June 6, 2016), Willie Williams

moves the Court to dismiss his 28 U.S.C. § 2255 motion. CR614-001,

doc. 128. The motion should be GRANTED .

      SO REPORTED AND RECOMMENDED, this 20th day of

June, 2016.




                                     UNITED STATES MAGISTRATE ILJDGE
                                     SOUTHERN DISTRICT OF GEORGIA
